
JUSTICE NELSON,
concurring and dissenting.
¶34 I concur in the Court’s resolution of Issue 2, but I dissent from its decision on Issue 1.
¶35 I cannot agree that a “home visit”1 is not a search. We have defined a “search” as “a visual examination, or the use of some other means of gathering evidence, which infringes upon a person’s reasonable expectation of privacy.” State v. Carlson, 198 Mont. 113, 119, 644 P.2d 498, 501 (1982); accord State v. Scheetz, 286 Mont. 41, 46, 950 P.2d 722, 724-25 (1997); State v. Elison, 2000 MT288, ¶ 48, 302 Mont. 228, ¶ 48, 14 P.3d 456, ¶ 48; State v. Roper, 2001 MT 96, ¶ 14, 305 Mont. 212, ¶ 14, 26 P.3d 741, ¶ 14; State v. Boyer, 2002 MT 33, ¶ 39, 308 Mont. 276, ¶ 39, 42 P.3d 771, ¶ 39. For instance, in Hulse v. State, Dept. of Justice, 1998 MT 108, 289 Mont. 1, 961 P.2d 75, we held that field sobriety tests, which “create a situation in which police officers may observe certain aspects of an individual’s physical and psychological condition which would not otherwise be observable,” Hulse, ¶ 32 (emphases added), constitute a search “because an individual’s constitutionally protected privacy interests are implicated in both the process of conducting the field sobriety tests and in the information disclosed by the tests,” Hulse, ¶ 33. We also based this conclusion on the fact that “law enforcement officers use field sobriety tests as investigative tools to assist them in discovering and arresting persons driving under the influence of alcohol.” Hulse, ¶ 32 (emphasis added).
¶36 When determining whether there has been an unlawful governmental intrusion into one’s privacy in search and seizure *528situations, we look at the following factors:
(1) whether the person has an actual expectation of privacy; (2) whether society is willing to recognize that expectation as objectively reasonable; and (3) the nature of the State’s intrusion.
Elison, ¶ 48; see also Hulse, ¶ 22; Scheetz, 286 Mont. at 48, 950 P.2d at 726.
¶37 In the case at hand, the subject of the search is Moody’s home. That a person has an actual expectation of privacy in his or her home, which society is willing to recognize as objectively reasonable, is beyond dispute. Indeed, in State v. Graham, 2004 MT 385, 325 Mont. 110, 103 P.3d 1073, we observed that “[although the right to be free from unreasonable searches and seizures encompasses more than the home, the home, nonetheless, is historically the raison d’etre for the constitutional protection.” Graham, ¶ 22. Similarly, in State v. McLees, 2000 MT 6, 298 Mont. 15, 994 P.2d 683, we stated as follows:
At the risk of belaboring the obvious, private residences are places in which the individual normally expects privacy free of governmental intrusion not authorized by warrant, and that expectation is plainly one that society is prepared to recognize as justifiable. The fundamental purpose of the Fourth Amendment’s prohibition against unreasonable searches and seizures is to protect the privacy and security of individuals and safeguard the sanctity of the home against arbitrary invasions by governmental officials.
McLees, ¶ 25 (citation and internal quotation marks omitted). And in Scheetz, we recited “the long-standing notion throughout this country, but especially in Montana, that a person’s residence and his homestead are secure from unwarranted government intrusion, be it by physical or technological means.” Scheetz, 286 Mont. at 48, 950 P.2d at 726 (citing State v. Bullock, 272 Mont. 361, 901 P.2d 61 (1995), and State v. Siegal, 281 Mont. 250, 934 P.2d 176 (1997)).
¶38 Such an expectation of privacy is legitimately held by probationers. See Griffin v. Wisconsin, 483 U.S. 868, 875, 107 S.Ct. 3164, 3169 (1987) (The “permissible degree [of impingement upon a probationer’s privacy] is not unlimited.”); Griffin, 483 U.S. at 873, 107 S.Ct. at 3168 (“A probationer’s home, like anyone else’s, is protected by the Fourth Amendment’s requirement that searches be ‘reasonable.’ ”).
¶39 As for the nature of the State’s intrusion, we consider “whether the state’s method of investigation is so personally invasive that we recognize the intrusion as a search that requires further justification, such as a warrant or other special circumstances.” Scheetz, 286 Mont. *529at 50, 950 P.2d at 727. Here, even a cursory examination of the Department of Corrections’ definition of a “home visit” (see the bullet-pointed items in ¶ 16 of the Court’s Opinion) discloses that the purpose and extent of this intrusion are to visually “inspectD” the probationer’s home; “observe” activities therein, including evidence of “contraband, weapons, illegal or dangerous objects”; “assess” the home environment; and otherwise gather evidence of probation violations. (Significantly, nothing in this definition limits the probation officer to plain view observations.) Such an intrusion certainly qualifies as “a visual examination, or the use of some other means of gathering evidence,” Carlson, 198 Mont. at 119, 644 P.2d at 501, which is “so personally invasive” as to constitute a search, Seheetz, 286 Mont. at 50, 950 P.2d at 727-particularly since, as the Court itself acknowledges, the probation officer’s purpose is to “enforc[e]” conditions of supervision and “discemD” any deception by the probationer.
¶40 Thus, given that “[t]he home is the most sanctified of all ‘particular places,’ ” Graham, ¶ 22, and that the purpose and extent of a probation officer’s “home visit” is to inspect the probationer’s home and gather evidence of noncompliance with probation conditions, the impingement on privacy brought about by such an intrusion unquestionably is a “search.”
¶41 The Court’s contrary conclusion rests on a fundamentally erroneous application of the factors set forth in Elison. First, with respect to whether a probationer has an actual expectation of privacy in her home, the Court observes that “probationers do not enjoy the absolute liberty and heightened expectations of privacy afforded every Montana citizen” but, rather, “are subject to conditional liberty properly dependent upon special restrictions” and, thus, have a “diminished expectation of privacy.” ¶ 19. These observations, while true, do not establish that a probationer has no actual expectation of privacy in her home. Indeed, it goes without saying that a “diminished expectation of privacy” is not a nonexistent expectation of privacy. See State v. 1993 Chevrolet Pickup, 2005 MT 180, ¶ 41, 328 Mont. 10, ¶ 41, 116 P.3d 800, ¶ 41 (Leaphart, J., dissenting) (“While [a] citizen may not expect as much privacy in the garbage that she sets out for collection as, say, the defendants in Siegal did in their compound, this is not to say that she expects none.” (emphasis added, citation omitted)).
¶42 The Court reasons, in addition, that a convicted felon whose probation includes a “clearly expressed” condition that she make her home open and available for a probation officer to visit “does not have an actual expectation of privacy that would preclude home visits.” ¶ 19; *530see also ¶ 23 (“A probationer has no reasonable expectation of privacy that would preclude home visits from taking place.”). This reasoning and the Court’s concomitant reliance on the probationer’s unambiguous[]’ aware[ness]” of the probation condition, ¶ 19, however, are entirely unavailing.
¶43 For one thing, the Court’s observation totally misses the point. The issue at hand is whether the probationer has an actual expectation of privacy in her home, not whether she has an actual expectation of privacy “that would preclude home visits from taking place.” No one is arguing that the State is precluded altogether from conducting home visits. Rather, the question is whether a home visit constitutes a “search,” which in turn would require further justification-such as a warrant or other special circumstances-not a complete ban. Likewise, no one has suggested that a probationer whose sentence includes the home visit condition could possibly have “an actual expectation that there would be no home visits during the period of supervision.” ¶20. Obviously, the probationer does expect that there will be home visits, given that this is a condition of her probation. Rather, the question, again, is whether such intrusions are so personally invasive that we require further justification for them.
¶44 Moreover, the question of whether an intrusion into a home constitutes a “search” is not contingent on whether the State has permitted the homeowner to have a privacy interest therein. Under the Court’s flawed reasoning, the State could vitiate every citizen’s expectation of privacy by the simple expedient of announcing that, henceforth, homes in this State are subject to suspicionless intrusions under the guise of “home visits.” However, as the Supreme Court explained in Smith v. Maryland, 442 U.S. 735, 99 S.Ct. 2577 (1979):
Situations can be imagined, of course, in which [the] two-pronged inquiry [of Katz v. United States, 389 U.S. 347, 88 S.Ct. 507 (1967)] would provide an inadequate index of Fourth Amendment protection. For example, if the Government were suddenly to announce on nationwide television that all homes henceforth would be subject to warrantless entry, individuals thereafter might not in fact entertain any actual expectation of privacy regarding their homes, papers, and effects.... In such circumstances, where an individual’s subjective expectations had been “conditioned” by influences alien to well-recognized Fourth Amendment freedoms, those subjective expectations obviously could play no meaningful role in ascertaining what the scope of Fourth Amendment protection was. In determining whether a *531“legitimate expectation of privacy” existed in such cases, a normative inquiry would be proper.
Smith, 442 U.S. at 740 n.5, 99 S.Ct. at 2580 n.5 (emphasis added). For this reason, the fact that a probationer’s sentence includes a condition that she make her home open for “visits” plays “no meaningful role” in ascertaining whether the probation officer’s intrusion constitutes a search-particularly when it is the validity of the probation condition itself that is at issue.
¶45 In a similar vein, the Court is also mistaken to suggest that a “home visit” is not a search because the probationer had notice of and consented to this condition on her sentence. See ¶ 19. To the contrary, the officer’s intrusion may be a “search” nonetheless. See Vernonia School Dist. 47J v. Acton, 515 U.S. 646, 650, 652, 115 S.Ct. 2386, 2389, 2390 (1995) (holding that random urinalysis drug testing of students participating in interscholastic athletics constitutes a “search” subject to the demands of the Fourth Amendment, even though the students had consented to the testing); Board of Ed. of Independent Sch. Dist. v. Earls, 536 U.S. 822, 826, 832, 122 S.Ct. 2559, 2562, 2566 (2002) (holding that students who consent to drug testing in order to participate in any extracurricular activity still have an expectation of privacy, albeit a “limited” expectation).
¶46 Furthermore, it is disingenuous to suggest that the probationer had a meaningful choice not to consent to such intrusions on her privacy. As Justice Stevens succinctly observed in Samson v. California,_U.S._, 126 S.Ct. 2193 (2006):
[T]he State’s argument that a California parolee “consents” to the suspicionless search condition is sophistry. Whether or not a prisoner can choose to remain in prison rather than be released on parole, he has no “choice” concerning the search condition; he may either remain in prison, where he will be subjected to suspicionless searches, or he may exit prison and still be subject to suspicionless searches. Accordingly, “to speak of consent in this context is to resort to a manifest fiction, for the [parolee] who purportedly waives his rights by accepting such a condition has little genuine option to refuse.” 5 W. LaFave, Search and Seizure: A Treatise on the Fourth Amendment § 10.10(b), pp. 440-441 (4th ed. 2004).
Samson, 126 S.Ct. at 2206 n.4 (Stevens, J., dissenting) (second alteration in original, first citation omitted).
¶47 The same is equally true here. Moody’s “choice” was to accept either suspicionless entries into her home or suspicionless entries into *532her prison cell. Such alternatives are hardly the waiver this Court implies. See State v. Olson, 2002 MT 211, ¶ 20, 311 Mont. 270, ¶ 20, 55 P.3d 935, ¶ 20 (“The knowing and voluntary consent by a citizen to a search is a recognized exception to the warrant requirement. The prosecution carries the burden of establishing that consent to a warrantless search was freely and voluntarily given and uncontaminated by any express or implied duress or coercion.” (emphases added, citation omitted)). In any event, the Court’s suggestion that a probationer who “consents” to the “home visit” condition on her sentence (because the condition was “clearlyj expressed” and she was “ ‘unambiguously* aware” of it when she was! “granted” probation) expects only as much privacy in her home as does' a prisoner in his cell is, in the final analysis, pure conjecture lacking any foundation.
¶48 With respect to whether a probationer’s expectation of privacy in her home is one society is willing to recognize as objectively reasonable, the Court reasons that home visits “ensure that the supervised felon is abiding by the conditions of her probation, thus addressing the problem of recidivism” and that “ ‘more intensive supervision can reduce recidivism’ ” (citing Griffin, 483 U.S. at 875, 880, 107 S.Ct. at 3168, 3172, and United States v. Knights, 534 U.S. 112, 120, 122 S.Ct. 587, 592 (2001)). Yet, these are precisely the rationales undergirding the Supreme Court’s approval of the “reasonable grounds” or “reasonable suspicion” standard in Griffin and Knights. See Griffin, 483 U.S. at 875, 878-80, 107 S.Ct. at 3169, 3171-72; Knights, 534 U.S. at 119-21, 122 S.Ct. at 591-93. This Court fails to explain why these rationales now, suddenly, justify elimination of the standard altogether.
¶49 Again, the question under the first two Elison factors is whether the probationer has an actual expectation of privacy that society is willing to recognize as objectively reasonable. As explained above, private residences are “places in which the individual normally expects privacy free of governmental intrusion not authorized by warrant, and that expectation is plainly one that society is prepared to recognize as justifiable.” McLees, ¶ 25 (internal quotation marks omitted). The fact that the probationer’s expectation of privacy is “diminished” (¶ 19 of the Court’s Opinion) merelyjustifi.es the lesser standard of “reasonable grounds” approved by the Supreme Court in Griffin and Knights and adopted by this Court in State v. Burke, 235 Mont. 165, 169-71, 766 P.2d 254, 256-57 (1988). It does not justify an intrusion based on no standard whatsoever.
*533¶50 Lastly, with respect to the nature of the State’s intrusion, the Court acknowledges that “home visits” enable a probation officer “to determine whether the individual is abiding by the conditions of probation.” ¶ 21. In other words, “home visits” serve verification and evidence-gathering functions-which, heretofore, we have referred to as a “search.” To be sure, verifying the probationer’s home address and observing the neighborhood for potential public safety issues do not infringe a probationer’s reasonable expectation of privacy. Even meeting the probationer’s family, which does not necessarily require an intrusion into the probationer’s home, is comparatively benign. However, observing the probationer’s residence for contraband, weapons, and illegal objects, conducting a visual inspection of the home, and requiring the probationer to submit to breathalyzer or urinalysis screening for use of alcohol and drugs certainly constitute an intrusion into the home by the State which infringes a reasonable expectation of privacy and which should be made only upon “reasonable grounds.”
¶51 The Court attempts to bolster the result it reaches here with citations to the same five cases cited in the State’s brief for the proposition that a home visit is not a search-namely, United States v. Workman, 585 F.2d 1205 (4th Cir. 1978), Latta v. Fitzharris, 521 F.2d 246 (9th Cir. 1975), United States v. Reyes, 283 F.3d 446 (2nd Cir. 2002), State v. Guzman, 990 P.2d 370 (Or.App. 1999), and Grubbs v. State, 373 So.2d 905 (Fla. 1979). See ¶¶ 22-23. However, the courts in those cases were interpreting the Fourth Amendment (Workman, Latta, Reyes, and Grubbs), Oregon statutes {Guzman), and the Florida Constitution {Grubbs), whereas the issue with which we have been presented, according to this Court, is whether “requiring a probationer to keep her home open and available for the probation officer to visit at all times violate[s] the Montana Constitution” (emphasis added). It is axiomatic that we, not the United States Courts of Appeals, the Court of Appeals of Oregon, and the Supreme Court of Florida, are the authoritative expositors of the Montana Constitution.
¶52 But, at a more fundamental level, even if the decisions of courts in other jurisdictions based on other constitutional and statutory provisions afford persuasive authority on the issue at hand, the cases cited by this Court at ¶¶ 22-23 are readily distinguishable, in that the “visits” mentioned in those cases either are undefined (in other words, the contours of a “visit” are not stated) or are far less intrusive than the “home visits” under our review. See Workman, 585 F.2d at 1207, 1208 (referring generically, and as dictum, to “warrantless visits to the *534probationer’s home or place of employment,” while the dispositive issue was “whether a probation officer can conduct warrantless searches of his probationer’s premises whenever he has probable cause” (emphases added)); Reyes, 283 F.3d at 451, 457 (addressing “whether Reyes, a convicted person serving a term of federal supervised release, had a legitimate expectation of privacy in his driveway,” given that a condition on his sentence was that he permit a probation officer to “visit” him at any time at home or elsewhere and permit confiscation of any contraband observed “in plain view” by the probation officer2); Guzman, 990 P.2d at 374 (“[T]he authority to conduct a home visit does not carry with it the authority to inspect private areas of the residence.”); Grubbs, 373 So.2d at 908,909-10 (also referring to “visit” generically-in other words, without defining the term3).
¶53 Simply labeling something a “home visit” does not afford an answer. Because the intrusions at issue in the foregoing cases were, in substance, not as invasive as the “home visit” at issue here, the Court’s reliance on those cases is, therefore, misplaced.
¶54 The same is true of the State’s conclusory assurance that the Department of Corrections “distinguishes between home visits and probationary searches.” The State fails to point to any such distinction in the Department’s policies and procedures. Indeed, the State provides no explanation whatsoever of what a probation officer may do in a probationary search that the officer may not do in the course of a home visit. The Court assumes that the probation officer (during a home visit) “may not open drawers, cabinets, closets or the like; nor may the officer rummage through the probationer’s belongings.” ¶ 24. Yet, such restrictions do not appear anywhere in the Department’s policies and procedures concerning supervision of probationers. Rather, the Court has simply inserted its own language, unfortunately created from whole cloth and contrary to the actual record, into the definition of a “home visit.” In point of fact, the home visits under our review instruct probation officers, without qualification, to “inspectD” the probationer’s home and, during that inspection, to “observe” for *535evidence of contraband, weapons, and illegal or dangerous objects and “require” the probationer to submit to breathalyzer and urinalysis screening for use of alcohol or drugs-all of which, in substance, constitutes a search.
¶55 Notably, Latta (cited by the Court at ¶ 22) actually supports the conclusion that a “home visit” is a search. In Latta, the Ninth Circuit, in the context of addressing whether a parole officer’s “warrantless search of [a parolee’s] home violated the Fourth Amendment,” Latta, 521 F.2d at 248, observed as follows:
The purposes of the parole system give the parole authorities a special and unique interest in invading the privacy of parolees under their supervision. In order to fulfill his dual responsibilities for helping the parolee to reintegrate into society and evaluating his progress, and for preventing possible further antisocial or criminal conduct by the parolee, it is essential that the parole officer have a thorough understanding of the parolee and his environment, including his personal habits, his relationships with other persons, and what he is doing, both at home and outside it. It is equally important that this information be kept up to date. Much of this information can be obtained by methods which necessitate little or no invasion of the parolee’s privacy, such as interviews with the parolee himself or with his employer, family, or friends and visits to his house. However, these techniques have inherent limitations. For example, it may be impossible to determine whether a parolee is using alcohol or narcotics, whether he is keeping weapons or other contraband in his home, whether he is using or preparing to use his home as a base for improper or unlawful activities, whether he is making a real effort to obtain employment, or the general nature of his home environment, without conducting some type of search.
Latta, 521 F.2d at 249-50 (emphases added, citations omitted). It is this same information that the probation officers conducting the “home visits” under our consideration seek to obtain: whether the probationer is using alcohol or narcotics, whether she is keeping weapons or other contraband in her home, whether she is using or preparing to use her home as a base for improper or unlawful activities, and the general nature of her home environment-all of which involve “some type of search.”
¶56 The Comb points out that “home visits” serve important goals and purposes-namely, to “ensure that the supervised felon is abiding by the conditions of her probation”; to “addressD the problem of *536recidivism”; and to “protect the safety and welfare of society.” ¶¶ 20, 21. These observations, however, miss the mark. The purpose of virtually every entry into a home by law enforcement is to ensure that the homeowner is abiding by the law or to protect the safety and welfare of society. This does not mean that the entries, therefore, are not searches. Article II, Section 11, does not define a “search” as a mere unimportant impingement upon an individual’s privacy. Rather, as explained earlier, the question of whether an intrusion constitutes a “search” depends on whether the person has an actual (subjective) expectation of privacy, whether society is willing to recognize that expectation as objectively reasonable, and the nature-not importance-of the State’s intrusion. Thus, while home visits may indeed operate as an important check on a probationer’s rehabilitation efforts, this fact does not determine the nature of the officer’s entry.
¶57 This is not to say that the goals and purposes served by “home visits” are irrelevant. To the contrary, this factor bears on the degree of certainty or suspicion required to support the officer’s decision to intrude. See Knights, 534 U.S. at 121, 122 S.Ct. at 592 (“Although the Fourth Amendment ordinarily requires the degree of probability embodied in the term ‘probable cause,’ a lesser degree satisfies the Constitution when the balance of governmental and private interests makes such a standard reasonable.”). We previously recognized that the State’s operation of a probation system, like its operation of a school, government office, or prison, or its supervision of a regulated industry, “ ‘presents “special needs” beyond normal law enforcement that may justify departures from the usual warrant and probable cause requirements.’ ” Burke, 235 Mont. at 168-69, 766 P.2d at 256 (quoting Griffin, 483 U.S. at 873-74, 107 S.Ct. at 3168). We therefore approved a warrantless probationary search conducted upon “reasonable grounds.” Burke, 235 Mont. at 169-71, 766 P.2d at 256-57. In so doing, we reasoned that a probation officer “must be able to supervise the probationer, and upon his judgment and expertise, search the probationer’s residence or cause it to be searched.” Burke, 235 Mont. at 171, 766 P.2d at 257.
¶58 The “reasonable grounds” standard was sufficient, we held in Burke, to accommodate two often opposing interests: the probation officer’s duty to supervise the probationer and the probationer’s reduced, but nevertheless existent, privacy interest. Quoting Griffin, we reasoned as follows:
[T]he probation agency must be able to act based upon a lesser degree of certainty than the Fourth Amendment would *537otherwise require in order to intervene before a probationer does damage to himself or society. The agency, moreover, must be able to proceed on the basis of its entire experience with the probationer, and to assess probabilities in the light of its knowledge of his life, character and circumstances.
Griffin, [483 U.S. at 879,] 107 S.Ct. at 3171. Thus, the special needs of the probation system strongly militate toward the “reasonable grounds” standard.
Burke, 235 Mont. at 169, 766 P.2d at 256 (first alteration in original).
¶59 With no apparent justification for modifying this balance-indeed, as noted above, the Court merely reiterates the exact rationales by which we approved the “reasonable grounds” standard in the first place, compare Burke, 235 Mont. at 169-71, 766 P.2d at 256-57, with ¶¶ 17, 20, 21 of the Court’s Opinion-the Court today lowers the bar in favor of no standard at all. Now, a probation officer may enter a probationer’s home-under the guise of a “home visit”-with no grounds whatsoever, on any basis the officer deems sufficient (or on no basis at all), and in the absence of any programmatic safeguards to ensure evenhandedness.
¶60 Yet, nothing in the record supports the notion that the “reasonable grounds” standard inhibits a probation officer from supervising the probationer or renders the officer’s expertise meaningless. Indeed, we adopted the reasonable grounds standard precisely to accommodate probation officers’ expertise in supervising probationers. See Burke, 235 Mont. at 169, 766 P.2d at 256 (The probation officer’s “continued experience with the probationer,” “knowledge of the original offense,” and judgment as to “the degree of supervision necessary in each case” “strongly militate toward the ‘reasonable grounds’ standard.”). Moreover, reasonable grounds may be supplied by this very expertise-i.e., individual-specific knowledge, gained through the supervisory relationship, concerning the probationer’s criminal history and projected likelihood of re-offending. See Griffin, 483 U.S. at 871, 107 S.Ct. at 3167 (noting that the regulation at issue, which the Court upheld, required the officer to consider a variety of factors in determining whether “reasonable grounds” exist, including “the officer’s own experience with the probationer”); Griffin, 483 U.S. at 879-80, 107 S.Ct. at 3171-72 (suggesting that the reasonable grounds standard accommodates a probation agency’s need “to proceed on the basis of its entire experience with the probationer, and to assess probabilities in the light of its knowledge of his life, character, and circumstances”).
*538¶61 It is counterintuitive that, under this Court’s decision today, a probation “search” must be based on “reasonable cause,” since probationers have conditioned liberty and, therefore, a reduced privacy interest (see ¶ 24 of the Court’s Opinion; see also Roper, ¶ 12); yet, by the simple expedient of calling a “search” a “visit,” we do away with the reasonable cause requirement altogether, even though the object of the exercise is precisely the same: to inspect the home of a person who has conditioned liberty and, therefore, a reduced privacy interest and gather evidence of probation violations. The fact that the probation officer may rummage through drawers and personal belongings in a “search,” but may not do so in a “visit” (see ¶ 24 of the Court’s Opinion), seems a slender reed of distinction indeed when, during the visit, the probation officer, as a “visitor,” may, nevertheless, observe and visually inspect everyone and everything in the home-with no restriction whatsoever in the Department of Corrections’ definition of a “home visit” that the officer is limited to “plain view” observations-and require the probationer to give breath and urine samples.
¶62 In sum, I cannot agree that calling something which is, for all intents and purposes, a search a “home visit” necessarily changes what probation officers are actually doing: seeking and gathering evidence. Nor can I agree that by the simple expedient of renaming a search a “home visit,” the privacy of a presumably innocent probationer becomes subject to greater infringement (given that the Court requires no cause for a “home visit”) than is the privacy of a probationer of whom the probation officer actually has a reasonable suspicion of wrongdoing.
¶63 Before concluding, it is appropriate to address the extensive arguments presented to us by Moody and the State based on Samson v. California,_U.S._, 126 S.Ct. 2193 (2006), which the Supreme Court decided on June 19, 2006, shortly after we handed down our original Opinion in the case at hand. In Samson, the Supreme Court held that the Fourth Amendment does not prohibit a police officer from conducting a suspicionless search of a parolee. Samson, 126 S.Ct. at 2202. In other words, the Court upheld a search that was based solely on the subject’s status as a parolee. Samson, 126 S.Ct. at 2196. The State argues that in light of this holding, probation officers may conduct “home visits” of probationers without having “reasonable cause” for doing so. However, neither Samson’s holding nor the reasoning behind it sustains the State’s position.
¶64 First, Samson involved the search of a parolee, not a probationer. Notably, the Samson majority went to great lengths to characterize *539parolees as having “fewer expectations of privacy than probationers, because parole is more akin to imprisonment than probation is to imprisonment.” Samson, 126 S.Ct. at 2198. See, e.g., Samson, 126 S.Ct. at 2198 (“ ‘[0]n the Court’s continuum of possible punishments, parole is the stronger medicine; ergo, parolees enjoy even less of the average citizen’s absolute liberty than do probationers.’ ” (alteration in original) (quoting United States v. Cardona, 903 F.2d 60, 63 (1st Cir. 1990))); Samson, 126 S.Ct. at 2201 (“[P]arolees, in contrast to probationers, “have been sentenced to prison for felonies and released before the end of their prison terms’ and are ‘deemed to have acted more harmfully than anyone except those felons not released on parole.’ ” (quoting United States v. Crawford, 372 F.3d 1048, 1077 (9th Cir. 2004) (en banc) (Kleinfeld, J., concurring))).
¶65 Thus, the Court in Samson did not broaden the holding of Knights, supra, that “[w]hen an officer has reasonable suspicion that a probationer subject to a search condition is engaged in criminal activity, there is enough likelihood that criminal conduct is occurring that an intrusion on the probationer’s significantly diminished privacy interests is reasonable.” Knights, 534 U.S. at 121, 122 S.Ct. at 593 (emphases added). Indeed, the question of whether a probation search is reasonable under the Fourth Amendment absent “reasonable suspicion” was not before the Court in Samson. See Samson, 126 S.Ct. at 2198.
¶66 Second, Samson involved a search of Samson’s person on a street, not a search of his house. As explained above, one’s expectation of privacy is at its pinnacle in the home. See McLees, ¶ 25 (The fundamental purpose of the prohibitions against unreasonable searches and seizures “is to protect the privacy and security of individuals and safeguard the sanctity of the home against arbitrary invasions by governmental officials.” (internal quotation marks omitted)); Graham, ¶ 22 (“[T]he home... is historically the raison d’etre for the constitutional protection.”). To say that a probation officer may enter a probationer’s home without reasonable cause because a police officer may conduct a suspicionless search of a parolee on the street is to disregard entirely the fundamental and crucial difference between these two contexts: the heightened expectation of privacy in the former.
¶67 Third, the suspicionless search system approved by the Supreme Court in Samson did not, in the Court’s view, give officers “unbridled discretion to conduct searches.” Samson, 126 S.Ct. at 2202; see also Samson, 126 S.Ct. at 2204 (Stevens, J., dissenting) (“[I]f individualized *540suspicion is to be jettisoned, it must be replaced with measures to protect against the state actor’s unfettered discretion.”). In particular, the Court was satisfied that California prohibited “arbitrary, capricious or harassing” searches. Samson, 126 S.Ct. at 2202 (internal quotation marks omitted). Thus, the Court rejected the argument that California’s parole search law permits “a blanket grant of discretion untethered by any procedural safeguards.” Samson, 126 S.Ct. at 2202 (internal quotation marks omitted).
¶68 Unfortunately, the same cannot be said about the “home visits” at issue here, the implementation of which is not constrained by any standards, guidelines, or procedures at all. Indeed, the only parameters imposed on a probation officer’s otherwise unfettered ability to enter and inspect a probationer’s home under the guise of a “home visit” are set forth in this Court’s Opinion; namely, the officer “may not open drawers, cabinets, closets or the like” or “rummage through the probationer’s belongings”-at least not until the inspection made possible by the officer’s suspicionless intrusion into the house has given him or her reasonable cause to begin rummaging (see ¶ 24 of the Court’s Opinion).
¶69 Finally-and perhaps most fundamentally-Samson was decided under the Fourth Amendment, whereas we are bound, in addition, by the provisions of the Montana Constitution. See State v. Tackitt, 2003 MT 81, ¶ 17, 315 Mont. 59, ¶ 17, 67 P.3d 295, ¶ 17 (“[SJearch analysis to determine proper constitutional criminal procedure in Montana is typically conducted under Article II, Sections 10 and 11 of the Montana Constitution, in addition to the Fourth Amendment to the United States Constitution.”). In this regard, we have frequently stated in the search and seizure context that Montanans are afforded a broader privacy protection under Article II, Sections 10 and 11 of the Montana Constitution than under the Fourth Amendment to the United States Constitution. See Hulse, ¶ 25; State v. Siegal, 281 Mont. 250, 263, 264, 934 P.2d 176, 183, 184 (1997), overruled in part on other grounds, State v. Kuneff, 1998 MT 287, ¶ 19, 291 Mont. 474, ¶ 19, 970 P.2d 556, ¶ 19; State v. Bullock, 272 Mont. 361, 384, 901 P.2d 61, 75 (1995); State v. Sawyer, 174 Mont. 512, 515, 571 P.2d 1131, 1133 (1977), overruled in part on other grounds, State v. Long, 216 Mont. 65, 67, 71, 700 P.2d 153, 155, 157 (1985). This increased protection is even more closely guarded when the search is conducted in one’s home. Graham, ¶¶ 19-22. Accordingly, Samson does not afford an answer to the question of whether, in this State, probation officers may conduct “home visits” without reasonable cause for doing so. See Scheetz, 286 Mont. at 47, *541950 P.2d at 725 (holding that United States v. Place, 462 U.S. 696, 103 S.Ct. 2637 (1983), “is not determinative” of whether the government’s use of a drug-detecting canine violates the Montana Constitution, since “we have chosen not to ‘march lock-step’ with the United States Supreme Court, even when applying nearly identical language”).
¶70 In conclusion, a probation officer’s entry into a probationer’s home to conduct a “home visit,” as that term is presently defined by the Department of Corrections, constitutes a search. The Court decides otherwise on the grounds that the probationer was “granted” this condition on her sentence and that home visits are one “commonly imposed” condition of probation. However, neither of these considerations establishes that the probationer does not have a legitimate expectation of privacy in her home that is infringed by suspicionless intrusions to “inspectü” and “observe” for evidence of “contraband, weapons, illegal or dangerous objects.” The Court also reasons that home visits “serve to protect the safety and welfare of society.” However, the importance of the goal served by an officer’s intrusion into a home does not determine the nature of that intrusion and, thus, is not a factor by which we determine whether the intrusion constitutes a search. Otherwise, the citizens of this State are protected only from unimportant intrusions, and the constitutional protections against unreasonable searches and seizures are meaningless.
¶71 I would require reasonable grounds to conduct the “home visits” at issue here. I dissent from the Court’s contrary conclusion.

 The Department of Corrections uses the term “home contact” in its procedures manual. However, the parties and the Court use the term “home visit”; thus, for consistency, I also am using the term “home visit.”


 In Reyes, the probation officers “walk[ed] on the driveway toward the backyard to determine whether anyone was at home” and, in so doing, discovered marijuana plants in plain view in Reyes’s yard. Beyes, 283 F.3d at 450.


 Notably, the Grubbs court held that evidence discovered in plain view by a probation officer during a “visit” to a probationer’s home may be used only in probation violation proceedings; the seized evidence is not admissible to prove a new criminal offense. Grubbs, 373 So.2d at 907, 909-10.

